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                       UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

BRIGGS LAW OFFICE, LLC                       :
                                             :
                               Plaintiff,    :     NO.    2:18-CV-02643
                                             :
               v.                            :
                                             :
STANTON S. KREMSKY and                       :     JURY TRIAL DEMANDED
SSK MD, INC.                                 :
                                             :
                               Defendants.   :

                                             ORDER

       AND NOW this __________ day of _________________, 2018, upon consideration of

Defendants’ First Motion for Enlargement of Time to File a Response to Plaintiff’s Complaint,

and any Response thereto, it is hereby ORDERED and DECREED that Defendants’ Motion is

GRANTED, and Defendants’ Response to Plaintiff’s Complaint is due within thirty (30) days

from the date of entry of this Order.




                                                   ___________________________________
                                                   Hon. Anita B. Brody              ,J.
           Case 2:18-cv-02643-AB Document 4 Filed 08/15/18 Page 2 of 3



                       UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

BRIGGS LAW OFFICE, LLC                        :
                                              :
                              Plaintiff,      :       NO.     2:18-CV-02643
                                              :
               v.                             :
                                              :
STANTON S. KREMSKY and                        :       JURY TRIAL DEMANDED
SSK MD, INC.                                  :
                                              :
                              Defendants.     :

    DEFENDANTS’ FIRST MOTION FOR ENLARGEMENT OF TIME TO FILE A
                RESPONSE TO PLAINTIFF’S COMPLAINT

       This is an action in attorney-client breach of contract, inter alia.

       On June 22, 2018, Plaintiff filed its Civil Action Complaint (Docket No. 1).

       Plaintiff served Defendants on August 2, 2018 (No. 2).

       Defendants’ Response is due on or about August 23, 2018.

       This Motion for Extension of Time to File a Response to Plaintiff’s Complaint is timely.

       Plaintiff’s Complaint is complex respectfully suggested as requiring additional time to

respond.

       In addition, undersigned counsel just today entered his appearance and will soon be on

vacation: August 27 – 31, 2018.

       WHEREFORE, Defendants’ respectfully request this Honorable Court grant Defendants

thirty (30) days extension of time to file a Response to Plaintiff’s Complaint – consistent with the

attached proposed Order.

                                                      WEISBERG LAW

                                                      /s/ Matthew B. Weisberg
                                                      Matthew B. Weisberg, Esquire
                                                      Attorney for Defendants
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                       UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

BRIGGS LAW OFFICE, LLC                      :
                                            :
                             Plaintiff,     :       NO.    2:18-CV-02643
                                            :
              v.                            :
                                            :
STANTON S. KREMSKY and                      :       JURY TRIAL DEMANDED
SSK MD, INC.                                :
                                            :
                             Defendants.    :

                               CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 15th day of August, 2018, a

true and correct copy of the foregoing Defendants’ First Motion for Enlargement of Time to File

a Response to Plaintiff’s Complaint was served via ECF upon the following parties:

                                  Norman W. Briggs, Esquire
                                      Briggs Law Office
                                 400 Market Street, Suite 730
                                 Philadelphia, PA 19106-2545



                                                    WEISBERG LAW

                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    PA Attorney ID #: 85570
                                                    7 S. Morton Avenue
                                                    Morton, PA 19070
                                                    (610) 690-0801
                                                    (610) 690-0880 – Fax
                                                    mweisberg@weisberglawoffices.com
                                                    Attorney for Plaintiff
